Case 5:20-cv-02618-JWH-kk Document 173-4 Filed 10/30/23 Page 1of2 Page ID #:237,

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Elaph Legal Translation 6

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Department of Judicial Declarations Delivery Service
Aramex
Courts Project
Receiving Date: 14.12.2022
Dubai Courts - Aramex - Al Barsha Baranch
Dubai Al-Barsha Court - Aramex

*47539504681*
Assigned Declarer Report
Notifying Party : Moses Heredia For Guidance : 044270845
Exhibit No. : 431717/1/2022
Notified Party : MTK GLOBAL SPORTS MANAGEMENT L.L.C

Notified Party Address : Jumeirah Lake Towers - Jumeirah Bay Tower X3 - Unite
No. 3005B - Phone: 044310887

On this Thursday, 15.12.2022, at 11:45 am/pm, I, Abd Allah Mabkhout, the Assigned Declarer
by Dubai Courts has moved to the address of the Notified Party shown above, and found that
there is another /illegible/ in the premises 3005, and by calling the Notified Party the number
was disconnected, therefore, the execution could not be done.

Receiver Name: Assigned Declarer _  /signed/
Signature ,

Class : : _ Seal of Abd
Assigned Declarer Seal Allah Mabkhout/

ID No.

Signature

Task No. Audit Seal
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Tel: +971 4 33 10 332 Fax: +971 4 33 10 250 P.O.Box 184916 - Dubai - UAE

Email: info@elaphtranslation.com www.elaphtranslation.com

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